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 Attorneys for ANNE E. LOPEZ, in her official capacity
 as Attorney General of the State of Hawai‘i


                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAI‘I

 RODNEY PAGBA,                          No. 22-CV-00521 JMS-KJM

                    Plaintiff,          DEFENDANT ANNE E. LOPEZ’S
                                        ANSWER TO PLAINTIFF’S FIRST
       vs.                              AMENDED COMPLAINT;
                                        CERTIFICATE OF SERVICE
 ANNE E. LOPEZ, in her official
 capacity as Attorney General of the
 State of Hawai‘i,                      District Judge:
                                        Hon. J. Michael Seabright
 and
                                        Magistrate Judge:
 CITY AND COUNTY OF                     Hon. Kenneth J. Mansfield
 HONOLULU,
                                        Trial Date: May 21, 2024
                    Defendants.
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                 MOTION FOR LEAVE TO WITHDRAW
        AS COUNSEL OF RECORD FOR DEFENDANT ANNE E. LOPEZ

        Pursuant to Local Rule 83.5(b) of Practice for the United States District

 Court for the District of Hawaiʻi, Solicitor General Kimberly T. Guidry

 respectfully moves this honorable court for leave to withdraw as counsel of record

 for the Defendant Anne E. Lopez. In support of this motion, the undersigned

 counsel shows as follows:

        1.     I have been counsel of record for Defendant Anne E. Lopez since

 January 13, 2023.

        2.     Good cause exists to grant this motion as I will be leaving the

 Department of the Attorney General and joining the Hawai‘i Intermediate Court of

 Appeals on June 1, 2023.

        3.     Deputy Solicitor General Nicholas M. McLean entered his appearance

 on January 13, 2023, and he will continue to represent the Defendant in connection

 with this litigation.

        4.     The name, address, and telephone number of the Attorney General

 are:

               Anne E. Lopez
               Department of the Attorney General
               425 Queen Street
               Honolulu, Hawai‘i 96813
               (808) 586-1500

        5.     The client is not a corporation, partnership, or other business entity.

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       6.     Defendant Anne E. Lopez, by and through her deputies, has been

 warned that she is personally responsible for complying with all court orders and

 time limitations established by any applicable rules.

       7.     Granting this motion will not prejudice any party or otherwise impede

 the swift administration of this matter, as there will be continuous representation of

 Defendant Anne E. Lopez..

       Therefore, undersigned counsel respectfully moves this Court to allow him

 to withdraw as counsel for Defendant Anne E. Lopez in this matter.

       DATED: Honolulu, Hawaiʻi, May 24, 2023.


                                        /s/ Kimberly T. Guidry
                                        KIMBERLY T. GUIDRY
                                        Solicitor General

                                        Attorney for Defendant ANNE E. LOPEZ,
                                        in her official capacity as the Attorney
                                        General of the State of Hawai‘i




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